Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 1 of 86 PageID 196




                            EXHIBIT G
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 2 of 86 PageID 197
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 3 of 86 PageID 198
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 4 of 86 PageID 199
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 5 of 86 PageID 200
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 6 of 86 PageID 201
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 7 of 86 PageID 202
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 8 of 86 PageID 203
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 9 of 86 PageID 204
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 10 of 86 PageID 205
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 11 of 86 PageID 206
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 12 of 86 PageID 207
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 13 of 86 PageID 208
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 14 of 86 PageID 209
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 15 of 86 PageID 210
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 16 of 86 PageID 211
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 17 of 86 PageID 212
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 18 of 86 PageID 213
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 19 of 86 PageID 214
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 20 of 86 PageID 215
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 21 of 86 PageID 216
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 22 of 86 PageID 217
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 23 of 86 PageID 218
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 24 of 86 PageID 219
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 25 of 86 PageID 220
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 26 of 86 PageID 221
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 27 of 86 PageID 222
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 28 of 86 PageID 223
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 29 of 86 PageID 224
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 30 of 86 PageID 225
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 31 of 86 PageID 226
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 32 of 86 PageID 227
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 33 of 86 PageID 228
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 34 of 86 PageID 229
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 35 of 86 PageID 230
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 36 of 86 PageID 231
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 37 of 86 PageID 232
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 38 of 86 PageID 233
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 39 of 86 PageID 234
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 40 of 86 PageID 235
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 41 of 86 PageID 236
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 42 of 86 PageID 237
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 43 of 86 PageID 238
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 44 of 86 PageID 239
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 45 of 86 PageID 240
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 46 of 86 PageID 241
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 47 of 86 PageID 242
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 48 of 86 PageID 243
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 49 of 86 PageID 244
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 50 of 86 PageID 245
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 51 of 86 PageID 246
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 52 of 86 PageID 247
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 53 of 86 PageID 248
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 54 of 86 PageID 249
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 55 of 86 PageID 250
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 56 of 86 PageID 251
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 57 of 86 PageID 252
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 58 of 86 PageID 253
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 59 of 86 PageID 254
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 60 of 86 PageID 255
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 61 of 86 PageID 256
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 62 of 86 PageID 257
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 63 of 86 PageID 258
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 64 of 86 PageID 259
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 65 of 86 PageID 260
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 66 of 86 PageID 261
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 67 of 86 PageID 262
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 68 of 86 PageID 263
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 69 of 86 PageID 264
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 70 of 86 PageID 265
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 71 of 86 PageID 266
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 72 of 86 PageID 267
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 73 of 86 PageID 268
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 74 of 86 PageID 269
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 75 of 86 PageID 270
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 76 of 86 PageID 271
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 77 of 86 PageID 272
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 78 of 86 PageID 273
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 79 of 86 PageID 274
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 80 of 86 PageID 275
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 81 of 86 PageID 276
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 82 of 86 PageID 277
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 83 of 86 PageID 278
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 84 of 86 PageID 279
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 85 of 86 PageID 280
Case 3:24-cv-01152-G Document 1-7 Filed 05/14/24   Page 86 of 86 PageID 281
